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Exhibit J (part 3)
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PW06017 - NATURAL DRAINAGE EASEMENT Applicant’s Surveyor shall include A pplicant’s Prior to
Designate all natural drainage channels on the final map by labeling as described on Final Map. Surveyor Recordat
easements labeled “Natural Drainage Easement”, (Public ion of
Works) Final
Map

$1, PW002! - ROAD NAMES Applicant shall submit proposed road Applicant Prior to
Submit alf proposed road names to the DPW for approval by | names to DPW. DPW will submit to Recordat
County Communications. (Pablic Works) County Communications for approval. ion or

Final
Map

82, PW0026 — PLANTING FOR GRADED AREAS Applicant’s Engineer or Landscape Applicant's Prior to DPW
Plant and maintain all graded areas of the street right-of-way | Architect shall include erosion contral Engineer/Lands | Recordat
as required by the DPW to control erosion. The area planted | Measures on improvement plans. cape Architect | ion of
shall include all shoulder areas and all cut and fill slopes, A Final
report and plan prepared by a qualified person shall be Map
submitted for approval of the DPW and include the following:

a. Stabilized cut and fill slopes.
b. Specific method of treatment and type of planting, by
area, for each soil type and slope required to satisfy
item (a).
Type and amount of maintenance required to satisfy item (a).
(Public Works)

83. PW0027 — CUT/FILL SLOPE (2:1) Applicant’s Engineer shall include notes {Applicant's Prior to
Cut and fill slopes shall not exceed 2 to 1 except as on Improvement Plans, Engineer Recordat
specifically approved in concurrence with the geo-technical ion of
report. (Public Works) Final

Map or
approval
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shail include a detailed written detailed inventory of CSD
maintained infrastructure with specific locations, limits, areas,
dimensions, and miscellaneous information to clearly identify
all facilities to be operated and maintained by the CSD.
Infrastructure to be included is not limited to, but shall include
all roads, streetlights, storm water, parks, open space, and
other misceflaneous improvements. The administrative and
enforcement services provided by the CSD shall include the
activities of a Water Coordinator to provide water
management activities identified in the Rancho San Juan EIR.
(Publi¢ Works)

of
grading
permit
(whichev
et occurs
first)

84. PWSP0001 — BICYCLE/PEDESTRIAN PATHS Applicant’s Engineer shall include the Applicant’s Prior io
Include streetlights for bicycle/pedestrian paths, except in location and type of bicycle/pedestrian [Engineer Recordat
designated open spacc areas, identifying locations and streetlights in the improvement plans. ion of
proposed lighting on improvement plans. (Public Works) Final

ap

85. PWSP0002 — COMMUNITY SERVICES DISTRICT Applicant’s Attorney and Engineer shall [Applicant's Prior to
Prior to recordation of a Final Map, complete all Local submit documents to LAFCO. Attomey/Appli | Recordat
Agency Formation Commission (LAFCO) requirements and cant’s Engineer | ion of
create a CSD for operation and maintenance of specified Final
infrastructure as required by DPW. The LAFCO submittal Map

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the OMP by the CSD. Said agreement shall be subject to the
approval of the Director of Public Works and County
Counsel. The agreement shall include all required ordinances,

engineering assessments, or other legal documents sufficient

PWSP0003 —- COMMUNITY SERVICES DISTRICT Applicant's Engin hall prepare an Applicant's Prior to
The CSD shall be responsible for the operations and Operations and Maintenance Plan Engineer Recordat
tnaintenance of the open space numbered 15], 16B, 16C and | (OMBP). ion of
16E, as indicated on the Vesting Tentative Map. Open Space Final
within or immediately adjacent to the golf course shall be Map
operated owned and maintained by the golf course. (Public

Works)

87, PWSP0004 — COMMUNITY SERVICES DISTRICT Applicant's Engineer shall prepare an Appticant’s Prior to
Prepare an OMP for all CSD facilities subject to the approval | OMP. Engineer Recordat
of the Director of Public Works. Said OMP shall include a ion of
detailed inventory of all facilities, operating requirements of Final
each item, schedules, and proposed maintenance strategies for Map
perpetuation of the facilities. The OMP shall take into
account the phasing of the project over time and the financial
needs for completion of the work on schedule. The OMP
shall include an estimated cost for completion of the operating
and maintenance strategy requirements, capital replaccment,
and an operating reserve over time for completion of each
phase of the development and at completion of the
development. (Public Works)

83. PWSP0005 — COMMUNITY SERVICES DISTRICT Applicant's Attorney in consultation with {Applicant's Prior to
Develop, execute, and record a property related agreement County Counsel shall prepare agreement. [Attorney Recordat
between the current property owner and the County to ion of
establish a maximum fee for each property created within the Final
Butterfly Village development te provide for completion of Map

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provide for an annual Engineering News Record Construction
Cost Index increase in the parcel fee. (Public Works)

89, PWSP0006 — COMMUNITY SERVICES DISTRICT Applicant’s Attorney in consultation with |Applicant’s Prior to
Develop and execute an agreement between the County and | County Counsel shall prepare agreement. [Attorney Recordat
the CSD for operation and maintenance of all CSD facilities ion of
subject to the approval of the Director of Public Works and Final
County Counsel, (Public Works) Map

90. PWSP0007 —- COMMUNITY SERVICES DISTRICT Applicant’s Engineer shall prepare an Applicant's Prior to
Prepare an OMP for all infrastructure not included in the CSD | OMP. Applicant's Attorney, in Engineer/Appli | Recordat
inventory subject ta the approval of the Directer of Public consultation with County Counsel, shall |cant’s Attomey | ion of
Works, Develop, execute, and record an agreement subject to. | prepare agreement. Final
the approval of the Director of Public Works with the Golf Map
Course property owner for acceptance, use, operation, and
maintenance of the infrastructure in accordance with the
approved operation and maintenance plan. (Public Works)

$1, PWSP0008 —- COMMUNITY SERVICES DISTRICT The | Applicant’s Engineer shall prepare an Applicant’s Prior to
CSD shall be responsible for the maintenance and operations | OMP to be approved by the Department (Engineer/Appli | Issuance
of the following percolation pond numbers 6B, 7, 14, and 15, | of Public Works. Applicant/Golf Course |cant/Golf ofa
as indicated in the Vesting Tentative Map, Ponds located Owner shall operate and maintain ponds [Course Owner | Grading
within or immediately adjacent to the golf course shall be immediately adjacent to golf course. Permit or
operated and maintained by the golf course. (Public Werks) Recordat

ion of
Final
Map

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(whichev
er comes
first).

92.

PWSP0009 — GRADING

The Registered Engineer preparing the geotechnical report
shall submit a statement that the grading plan is in
conformance with the geotechnical recommendation. (Public
Works) ,

Applicant’s Engineer shall submit a
statement that the grading plan is in
conformance with the geotechnical
recommendation.

Applicant's
Engineer

Prior to
Issuance

93,

PWSP0010 -GRADING

Submit documents certifying acquisition of public right-of-
way or right of possession of all off-site and emergency
access improvements presented in the form of a title report or
preliminary title report. (Public Works)

Applicant's Engineer shall present title
report or preliminary title report

documenting ownership of right-of-way.

A pplicant’s
Engineer

Prior to
Issuance
ofa
Grading
Permit
for any
off-site
grading
and prior
to
issuance
of
building
permit,

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PWSP0011 -GRADING Applicant’s Engineer shall provide pplicant’s Prior to
Applicant shall provide Vista hazardous materials or approved | hazardous materials report. Engineer Issuance
equal report for the site and submit to Environmental Health ofa .
for review and approval. (Public Works) Grading
Permit
95. PWSP0012 —- GRADING Applicant’s Engineer shall provide Applicant's Prior to
Grading plan shall indicate proposed design grades for access | grading plans. jEngincer Issuance
improvements, including emergency fire access roads. ofa .
(Public Works) Grading
Permit
for off-
site
gtading —
96. PWSP0013 — GRADING Applicant’s Engineer shall provide final {Applicant's Prior to
Prior to grading, Applicant shal! submit final plans and plans and specifications. Engineer Issuance
specifications for approval for the off-site access ofa
improvements, (Public Works) Grading
Permit
for off-
site
grading
97, PWSP4014 —-GRADING Applicant shall provide to the County Applicant Prior to
Prior to grading, letters from adjacent property owners notarized grading letters. Issuance
providing permission for grading shown on their property ofa
shall be notarized and submitted to the County. In the event Grading
that the applicant notifies the County that it is unable to timely Permit
secure the required right-of way at fair market value, the for off-
County shall, after verifying the landowners’ rejection of site

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applicant s bon

¢ offer to purchase the required property
interests at a price established by a County approved appraiser
for condemnation appraisals, shall acquire the fand or right-
of-way through negotiation or eminent domain. (Public
Works)

i

98.

PWSP0015 - GRADING

Submit grading plans and specifications prepared by a
registered California Professional Engineer for the
development subject to the approval of the Directors of Public
Works, Planning and Building Inspection, and the Water
Resources Agency. The grading plans shall include existing
and final contours at intervals of two-foot, excavation and fill
quantity take offs by area, description of methods for
excavation and embankment construction, and descriptions of
methods of stockpiling, storing, and replacing top soil.
Grading specifications shall provide methods for excavation,
embankment construction, and vegetation preservation te
include requirements for equipment prohibitions, grade
tolerance, relative compaction requirements by area, removal
or disposal of deleterious material, handling or removal of
unsuitable or surplus material, and specifying of any import
requirements. (Public Works)

Applicant’s Engineer shall prepare final
grading plans and specifications and
inspect and supervise grading work.

Applicant's
Engineer

Prior to
Issuance
of a
Grading
Permit

99

PWSP0015A — GRADING

The grading construction work shall be completed under the
direct supervision of a registered California Professional
Engineer in Civil Engineering, or other qualified California
Professional Engineer. (Public Works)

Applicant shall complete grading
construction work under the direct
supervision of a registered California
Professional Engineer.

Applicant

On-going

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Prior to

PWSP0016 —GRADING Applicant's Engineer and Landscape A pplican
Grading plans shall be accampanied with a vegetation Architect shall provide vegetation Engineer/Appli | Issuance
preservation plan and a detailed re-vegetation and erosion preservation plan and a detailed re- cant's ofa
control plan subject to the approval of the Directors of Public | vegetation and erosion contro! plan. Landscape Grading
Works, Planning and Building, and the Water Resources Architect Permit or
Agency. Re-vegetation plans shall include methods of Recordat
planting or seeding, fertilization, irrigation, and long-term ion of
maintenance of the site. The long-term maintenance Final
requirements for r¢-vegetation and erosion control shall Map
require financial surety ensuring maintenance is performed. (whichey
The erosion control plan shall be completed in accordance er comes
with the California Regional Water Quality Control Board first).
(CRWOCB) requirements for an NPDES construction storm
water permit. This activity includes the filing of an
appropriate Notice of Intent (NOI) and preparation of the
Storm Water Poilation Prevention Plan (SWPPP) for the
disturbed area. Grading shall not be allowed until the NPDES
permit has been issued.
{See Permit Conditions No.’s 57 (Mitigation 5.9-1), 197 and
75)

(Public Works)

101. PWSP0017 — GRADING Applicant’s Attorney in consultation with [Applicant’s Prior to
Develop and enter into an agreement and provide surety for County Counsel shall develop and enter [Attorney Issuance
maintenance of the erosion control plan prior to obtaining into agreement for maintenance of the ofa
authorization for grading. The agreement shall be subject to erosion plan. Grading
the approval of the Directors of Public Works, Planning and Permit or
Building Inspection and the Water Resources Agency. Recordat
(Public Works, Planning and Building Inspection, and ion of

inal

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Water Resources)

with construction activity. Copies of these documents must be

submitted to DPW. Reference DEIR pages 5.7-10 and 5.7-13.

Map
(whichev
er comes
first).

102. PWSP0018 —-GRADING Applicant’s Engineer shall prepare and = [Applicant’s Prior to
Grading shall not be authorized for a phase until Final submit final improvement plans for each (Engineer Issuance
Improvement Plans for that phase have been approved by the | phase. ofa .
Directors of Public Works, Water Resources Agency, and Grading
Pianning and Building Inspection. (Public Works, Water Permit
Resources and Planning and Building Inspection)

103. PWSP0019 —- GRADING Applicant shall obtain an Air Quality Applicant Prior ta
An Air Quality Permit shail be obtained for the grading work | Permit. Issuance
and appropriate dust control shall be implemented as part of ofa
the project. Reference DEIR pages 5.7-10 and 5,7-13, Grading
(Public Works) Permit

104. PWSP0020 —- GRADING Applicant’s Engineer shall submit Haul = |Applicant’s Prior to
A Hay! Route Plan shall be submitted for approval of off-site | Route Plan. Engineer Issuance
import or export amounts exceeding 10,000 cubic yards of ofa
material, (Public Works} Grading

Permit

105. PWSP0021 -GRADING Applicant shall submit an NOT for - Applicant Prior to
Because this project involves a land disturbance of one or controlling storm water discharge. Issuance
more acres, the Applicant shall submit an NOI to the State Copies shall be submitted ta DPW. ofa
Water Resources Control Board (SWRCB) and to prepare a Grading
SWPPP for controlling storm water discharges associated Permit

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(Public Works)

106. PWSP0022 — IMPROVEMENT PLANS Applicant’s Engineer to prepare Applicant's Prior to
Prepare detailed engineering calculations and improvement engineering calculations. Engineer Issuance
plans subject to the approval to the Directors of Public Works, ofa
Environmental Health, Planning and Building Inspection, and Grading
the Water Resources Agency for infrastructure facilities Permit or
including utilities, roads, storm water, wastewater, potable Recordat
water, reclaimed water, earthwork, grading, and lighting ion of
facilities. Applicant shall provide potable water, wastewater Final
and reclaimed water improvements on one plan. (Public Map
Works, Environmental Health and Planning and Building (whichev
Inspection} er comes

first).

107, PWSP0023 IMPROVEMENT PLANS — Applicant’s Engineer shall provide Applicant's Prior to
GEOTECHNICAL laboratory soils testing as identified in Engineer Issuance
Laboratory Soils Testing shall include moisture-density and this condition, ofa
unconfined compressive strength determinations, engineering Grading
classification tests (gradation and Batterer Limits) arid Permit or
screening for corrosion potential (ph/minimum Recordat
resistivity/sulfate/chloride), Stabilometer Resistance (“R") ion of
value tests shall be made on prospective pavement sub-grade Final
materials, (Public Works) Map

(whichey
er comes

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first).
108, PWSP0024 — IMPROVEMENT PLANS Applicant’s Engineer shall present Applicant's Prior to
GEOTECHNICAL information in the “Log of Test Borings” [Engineer Issuance
The results of all subsurface exploration and laboratory format, a written report of foundation ofa
molsture-density and unconfined compressive strength investigation, and shall provide Grading
determinations shall be presented in the “Log of Test subsequent consultation and review the Permit or
Borings” format. Geotechnical analyses/evaluations for the plans and specification with respect to Recordat
project shail include; liquefaction potential; ground stability; | geotechnical criteria. “R”-value test ion of
type, level, embankment settlement and waiting period shall be reported in a separate letter, Final .
requirement; soils corrosion potential; and subsurface Map
materials and conditions with respect to road construction, (whichev
Results of study shall be summarized in a written report of er comes
foundation investigation. Applicant shali provide subsequent first}.
consultation and review the plans and specifications with
respect to geotechnical criteria, Roadway evaluation shall
address embankment fill foundation conditions and
preparation requirements and anticipated pavement sub-grade
conditions and pavement structural section requirements.
Roadway considerations, including results of “R"-value test,
shail be reported in 2 separate letter submittal. (Public
Works)
109. PWSP0025 — IMPROVEMENT PLANS — Applicant's Geologist and Engineer shall |Applicant's Prior to
GEOTECHNICAL perform work identified in this condition. |Geologist/App] | Issuance
One boring per 500 feet of roadway shall be made to evaluate icant’s ofa

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roadway foundation and sub-grade conditions. Encountered

Engineer Grading
earth materials shall be ficld-classified and borings logged by Permit or
an engineer/geologist. In cuts boring shall be to a depth of 5- Recordat
10 feet beyond proposed final grade of roadway, in fills ion of
boring shall be to a depth of 5-10 feet beyond existing ground Final
elevation. (Public Works) Map

(whichev
er comes
first}.
110, PWSP0026 —- IMPROVEMENT PLANS ~ STORM Applicant’s Engineer shall prepare a ‘Applicant's Prior to
DRAINS AND SWALES Hydraulic Study. Engineer Issuance
The design hydraulic study shall indicate the location and size ofa
of storm drains, and swales including all necessary provisions Grading
for drainage. Flows for 2-year, 10-year, and 25-year storm Permit or
shall be submitted for swales, channels, and each storm trunk Recordat
line manholes. Storm Drain inlets shall be located and the ion of
system sized to carry runoff from a 2-year storm entirely in Final
the pipes; the combination of pipes and gutters shall have the Map
capacity to carry runoff from a 10-year storm with no ponding (whichey
that would prohibit the passage of motor vehicles; and the er comes
system of streets, swales and pipelines shall have the capacity first).
to carry runoff from a 25-year storm with no inundation of
private property or damage to public facilities; and the system
of strects, swales and pipelines shall have the capacity to carry
runoff from a 160-year storm with no flooding of private or
public structures. (Public Works)

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Prior to

PWSP0027 — IMPROVEMENT PLANS - SFORM Applicant’s Engineer shall prepare Applicant’s
DRAINS AND SWALES improvement plans as indicated inthis [Engineer Issuance
Drainage Plan and Profile Sheets shall be prepared at a condition. ofa
horizantal scale of 1"=20" and a vertical scale of 1"=2". These Grading
sheets shall inchide drainage systems (sizes and types), if Permit or
applicable, gutter profile (station, offset, elevation, and Recordat
slopes), drainage details, drainage quantities, and other ion of
pertinent information, as needed, Proposed slopes of pipes, Final
invert clevations, type of facility for storm drains, and Map
overland drainage releases shall be indicated on the plans. (whichev
(Public Works) er comes
. first).
1E2, PWSP0028- IMPROVEMENT PLANS - STREETS Applicant’s Attorney in consultation with jApplicant’s Prior to
Prepare and execute an agreement with the County to County Counsel shall prepare agreement. |Attorney/Appli | Issuance
reimburse the County and provide advance funding for the Applicant’s Enginesr shall prepare As —_—[cant’s Engineer | ofa
cost ofa third party construction management and materials | Built (Record Drawings) of Grading
testing firm supervised by a registered California Professional | improvements. Permit or
Engineer in Civil Engineering to inspect all subdivision Recordat
infrastructure improvements, including but not limited to ion of
streets, roads, storm drain, sewer and water facilities. The Final
firm shall also prepare As Built (Record Drawings) of Map
improvements, (Public Works) (whichev
er comes
first).

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PWSP0029 — IMPROVEMENT PLANS — STREETS Applicant's Engineer shall prepare Applicant’s Prior to
The typical Section Sheet shall include the roadway structural | improvement plans as indicated inthis [Engineer Issuance
section as designed, based on a Traffic Index (TT) and the condition. ofa
recommendations of the geotechnical report. Typical sections Grading
shall be produced for the project, (Public Works) Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).
114, PWSP0036 —~ IMPROVEMENT PLANS — STREETS Applicant's Engineer shall prepare Applicant's Prior to
Pian and Profile sheets shall be produced at a horizontal scale | improvement plans as indicated in this [Engineer Issuance
of 1°=20' and a vertical scale of 1”=2’, The plan view shall condition, ofa
delineate the general roadway improvements and pavement Grading
dimensions. Geometric information, tied to the project control Permit or
points, shall be shown to sufficiently describe both the Recordat
horizontal and vertical alignments, (Public Works) en of
ine
Map
(whichev
er comes
first).

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PWSP0031 — IMPROVEMENT PLANS ~ STREETS
A Superelevation Diagram Sheet for horizontal curve
treatment shall be prepared at a horizontal scale of 1°=40"
where required. (Public Works)

Appl icant’s Engineer shall prepare

improvement plans as indicated in this
condition.

Prior to

Issuance
ofa
Grading
Permit or
Recordat
ion of
Final
Map
(whichev
ef comes
first).

116.

PWSP0032 — IMPROVEMENT PLANS — STREETS

The roadway Construction Detail Sheets shall be prepared at
appropriate scales. Utility locations, grading and geometric
details shall be shown. Specific improvement details may also
be shown on the Construction Details Sheets. (Public Works)

Applicant's Engineer shall prepare
improvement plans as indicated in this
condition,

‘Applicant's
Engineer

Prior to
Issuance
ofa
Grading
Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).

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PWSP0033 ~ IMPROVEMENT PLANS —STREETS .
An engineers report shall be submitted analyzing sight
distance at crest, sag vertical curves, and horizontal curves as
well as intersections. Sight distance shall be subject to
approval by DPW. (Publie Works)

Applicant’s Engineer shall prepare an
engineers report with the information
stated in this condition.

Applicant's
Engineer

Prior to
Issuance
ofa
Grading
Permit or
Recordat
ion of
Final
Map
(whichey
er comes
first).

118.

PWSP0034 —- IMPROVEMENT PLANS - GENERAL
Provide the County with AutoCAD (latest version)
compatible files (OXF or DWG) for all computer-generated
mapping, construction plans and graphic information related
to project and mylars for improvement plans. (Public Works)

Applicant's Engineer shall provide the
County with AutoCAD (latest version)
compatible files (DXF or DWG) for all
computer generated mapping,
construction plans, and graphic
information and mylars for improvement
plans.

Applicant's
Engineer

Prior to
Isstiance
ofa
Grading
Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).

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PWSP0035 — IMPROVEMENT PLANS - SURVEYS

Applicant’s Engineer shall prepare Applicant's Prior to

Horizental and vertical datum for surveys and deliverables improvement plans as indicated inthis  /Engincer Issuance
shall be compited using NAD 83 and NAVD 88 respectively. | condition. ofa
This control system information shall be shown on the plans Grading
as well as the NGS centro! points used to develop the Permit or
network. A digital copy of the plans, survey control and layer Recordat
list used is required. The coordinate system for the project ion of
shall be based upon California Coordinate System, Zone 4, Final
Conventional survey techniques or GPS shall be utilized to Map
bring control to the project area. (Public Works) (whichev

er comes

first).

120. PWSP0036 —- IMPROVEMENT PLANS - SURVEYS Applicant’s Engineer shall prepare Applicant’s Prior to

Plans submitted shall use existing centerline alignments, improvement plans as indicatedin this [Engineer Issuance
stationing and monuments that are of recard with the condition. ofa
Monterey County Survey Division. Station offsets and Grading
elevations shalt be provided to physical design features, Permit or
Station and offset, and bearing and distances shall be provided Recordat
for right-of-way location. Bearing and distances and ion of
coordinates shall be shown for centerline. Description, Final
coordinates and elevation of the control points used for this Map
project shall be shown and described on the plans. A survey (whichev
control sheet may be used for listing required horizontal and er comes
vertical control coordinates and elevation information or first).
references to the County’s benchmarks, or monument ties,
(Public Works)

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PWSP0037 — IMPROVEMENT PLANS — SURVEYS

Applicant's Enginecr shall prepare

App cant’s.

Basic units for surveys and deliverables provided shall be improvement plans as indicated in this = [Engincer Issuance
English units. Basic scale for base mapping shall be 1°'=40' condition. ofa
with 2-foot contour intervals. The width of coverage for Grading
topographic surveying and base mapping shall be extended Permit or
200 feet beyond the limits of the project. (Public Works) Recordat
ion o
Final
Map
(whichev
er comes
first).
122, PWSP0038 ~ IMPROVEMENT PLANS — UTILITIES Applicant's Engineer shall prepare Applicant’s Prior ta
Locations of existing utility mainline facilities shall be shown | improvement plans as indicated in this [Engineer Issuance
on the base mapping and project plans, based on available condition. ofa
record information and visible surface evidence. (Public Grading
Works) Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).

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Ap cant’s Engineer shall complete

Prior to

Applicant’s
Complete design, prepare improvement plans, obtain permits, | design, prepare improvement plans, and [Engineer Issuance
and construct recycled water irrigation system to include the | obtain permits, and construct recycled ofa
storage facilities, pumps, distribution system, and spray field | water irrigation system. Grading
areas meeting the requirements of the CRWQCB and the Permit or
Califomia Department of Health Services (CDHS) subject ta Recordat
the approval of the Public Works Director. The design shall ion of
provide for irrigation mains from the wastewater treatraent Final
plant to the rest of the Rancho San Juan Specific Plan area, Map
Install all required monitoring devices required by the (whichey
pennits. Preparation of improvement plans and construction er comes
of the work shall be completed under the supervision of a first) and
California Professional Engineer. Said engineer shall certify On-going
that all facilities have been completed in accordance with
approved improvement plans, specifications, and approved
change orders. (Public Works)

124, PWSP0040 ~- IRRIGATION SYSTEM Applicant's Engineer shall prepare an ‘A pplicant’s Prior to
Prepare an Engineering Report for the production, Engineering Report. The report shalt Engineer Issuance
distribution, and use of recycled water mecting CDHS include the information indicated in this ofa
requirements subject to the approval of the Directors of condition. Grading
Environmental Health and Public Works. The report shall Permit or
include a recycled water balance and usage component that Recordat
indicates projected schedule, rates, and usage over the course ion of
of the year at completion of each phase of the development. Final
(Environmental Health, Water Resources Agency and Map
Public Works) (whichev

er comes
first) and
ongoing

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PWSP004I — IRRIGATION SYSTEM

Applicant’s Engineer shall prepare an Applicant's Prior to
Prepare an OMP for the reclaimed water delivery system as | OMP for the reclaimed water delivery Engincer Issuance
well as spray field areas including appropriate alarm and system as well as spray field areas ofa
response plans subject to the appraval of the Director of including appropriate alarm and response Grading
Public Works. (Public Works) plans. Permit or
Recordat
ion of
Final
Map
(whichey
er comes
first).

126. PWSP0041A ~ IRRIGATION SYSTEM Applicant’s Attorney in consultation with [Applicant’s Prior to
Develop, execute, and provide an agreement subject to the County Counsel shall develop, execute, [Attorney/Appli | Recordat
approval of the Public Works Director and County Counsel and provide agreement. In addition, cant ion of
with a Califomia Public Utility Commission (CPUC) Applicant shall provide bonds, Final
regulated company that provides for permitting, acceptance, Map
operation, and maintenance in perpetuity of the reclaimed
water delivery facilities te include the mains, pumps, and
storage facilities. (Public Works)

127, PWSP0042 —-IRRIGATION SYSTEM Applicant’s Engineer shall prepare, Applicant’s Prior to
Prepare, execute, and record agreements subject to the execute, and record agreements that Engineer Issuance
approval of the Directors of Environmental Health and Public | provide for the acceptance, use, ofa
Works that provides for the acceptance, use, operation, and operation, and maintenance of the Grading
maintenance of the reclaimed water spray field system. The | reclaimed water spray field system. Permit or
agreements shall be an obligation of the property owner Recordat
utilizing reclaimed water and shall be recorded against the ion of
property. The agreements shall require acceptance and usage Final
ofall reclaimed water from the HYH Butterfly Village Map

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Development as well as compliance all permit

(whichev ;

requirements. (Public Works) ef comes
first).
128. PWSP0043 — IRRIGATION SYSTEM Applicant’s Attomey in consultation with [Applicant's Prior to
Prepare, execute, and provide a franchise agreement with the | County Counsel shall prepare, execute, [Attorney Issuance
County of Monterey subject to the approval of the Director of | and provide a Franchise Agreement. ofa
Public Works for all irrigation facilities within the public road Grading
right-of-way. (Public Works) Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).
129. PWSP0044 — IRRIGATION SYSTEM Applicant’s Attorney in consultation with |Applicant’s Prior to
Prepare and execute an agreement subject to the approval of | | County Counsel shall prepare and Attorney issuance
the Public Works Director for reimbursement of costs for execute an agreement for reimbursement ofa
irrigation facilities installed by the HYH Butterfly Village of costs for irrigation facilities. Grading
Development that will be used by the remainder of the Permit or
Rancho San Juan Specific Plan area. Reference Permit Recordat
Conditions No.’s 8, 48, 58, 59, and 71, (Public Works) ion of
Final
Map
(whichey
er comes

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first}.

130. PWSP0045 — OPEN SPACE MAINTENANCE Applicant/Golf Course Owner shall Applicant/Golf | On-going
Parcels 15C, 15D, 15E, 1SF, 15G, 15H, and 15] shall be maintain parcels listed in this condition. [Course Owner
under the ownership and responsibility of the Golf Course
owner to maintain. Open space easements consistent with the
approved OMP and Specific Plan shall be dedicated to the
County over said parcels. (Public Works)

131. PWSP0046 — RIGHT-OF-WAY Applicant shall show all open space Applicant Prior ta
The Final Map shall provide that all open space maintained by | parcels on the Final Map dedicated to the Recordat
the CSD be dedicated to the CSD in fee. (Public Works) csD. ion of

ina!
Map
132a. PWSP0047 —- STORM WATER DRAINAGE Applicant's Engineer shall submit Applicant's Prior to

Submit detailed engineering calculations for all storm water _| detailed engineering calculation and HEngincer Issuance
facilities such as ponds, basin or watershed areas, design improvement plans. ofa
rainfall intensities, time of concentration, and Grading
recommendations for sizes for all storm water facilities Permit or
subject to the approval of the Directors of Public Works and Recordat
the Water Resources Agency, Submit improvement plans that ion of
have been prepared under the supervision of a registered Final
California Professional Engineer in Civil Engineering for the Map
proposed storm water facilities subject to the approval of the (whichey
Directors of Public Works and the Water Resources Agency. er comes
Plans are not limited to, but shall comply with the following: first).

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Manhole spacing shall not exceed feet.

Each manhole shal! have adjacent access provided by
a 16 foot wide all weather access road capable of
carrying a 20-ton truck.

The minimum storm drain diameter within the street
system shall be 18 inches.

Applicant's Engineer shall submit

(Public Works)
132b. PWSP0047 —-STORM WATER DRAINAGE Applicant’s Engineer shall submit Applicant's Prior to
1. Submit detailed engineering calculations for all detailed engineering calculations, Engineer Issuance
storm water facilities such as ponds, basin or ofa
watershed areas, design rainfall intensities, time of Grading
concentration, and recommendations for sizes for all Permit or
storm water facilities subject to the approval of the Recordat
Directors of Public Works and the Water Resources ion of the
Agency. Submit a drainage study including an Final
evaluation of off-site impacts to the existing systems, Map
the legal right and ability to deliver surface water run . (whichev
off to downstream properties. The drainage study Applicant’s Engineer shall submit a Applicant's er comes
shall address the issue of the potential for increase in| Drainage Study. Engineer first).
volume of runoff, increase in flow rate and the
changes of stream velocity. The drainage model used
shall be pre-approved by the Water Resources
Agency and shall be appropriate for the size of the
drainage area being evaluated, Field surveys shall
verify elevations assumed by the model. The
drainage study shall evaluate and make
recommendations for improvements to this off site
system and estimate operational and thaintenance Applicant's

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costs associated with imprevements. Submit

improvement plans that have been prepared under the

supervision of a registered California Professional
Engineer in Civil Engineering for the proposed storm
water facilities subject to the approval of the
Directors of Public Works and the Water Resources
Agency. ‘

2. Provide drainage releases, agreements, easements,
rights of way or other legal documents subject to the
approval of the Directors of Public Works, Planning
and Building Inspection, Water Resources Agency,
and County Counsel with other down stream
property owners that provide for making necessary
improvements and/or providing for increased storm
water discharges from the Development. Enter into
an agreement to reimburse the County for
supplemental environmental work required by
drainage improvements required off-site,

3. Complete final design plans, prepare construction
documents, and construct drainage improvements as
required, to provide for storage, transmission or
disposal of increased storm water discharges from the
development for on-site and off-site improvements.
Security shall be provided in the form of a
performance bond for 100% of the improvement cost,
a labor and materials bond for 50% of the labor and
material costs and a maintenance bond for 100% of
the estimated cost of annual operation and
maintenance of the off-site improvements held for 15

Improvement Plans.

Applicant's Engineer shall provide
drainage releases, agreements,
easements, rights of way or other legal
documents

Applicant’s attorney in consultation with
County Counsel shall prepare and
execute a reimbursement agreement for
supplemental environmental work

Applicant’s engineer shall complete final
design plans, prepare construction
documents, and construct drainage
improvements as required.

Applicant shal! provide bonds

Engineer

‘A pplicant’s
Engineer

Applicant’s
attorney

Applicant's
Engineer

A pplicant

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years. Additional security shall be provided subject to
the approval of County Counsel in the amount of
$3,000,000 to cover any potential liability that may be
filed against the county due to off-site erosion to be
held for the period of 15 years.

4, Drainage Facilities shal! be conveyed to and operated ' . . .
by the CSD. The CSD shall enter into agreement with | Applicant's attorney in consultation with
the County subject to the approval of the Directors of || County Counsel shall prepare and Applicant’s
Pubtic Works, Planning and Building Inspection, execute an agreement attorney
Water Resources Agency, and County Counsel for the
prevention of sediment from entering down stream
facilities, maintenance of ~
retention/detention/sedimentation ponds, and provide
for the restoration of the Drainage Facilities caused
by storm activities. The agreement shal! provide that
the CSD maintain adequate reserves for the annual
maintenance of the Drainage Facilities, provide that
the CSD maintain adequate liability insurance and
include an appropriate hold harmless clause for the
County. (Public Works)

133, PWSP0048 — STORM WATER DRAINAGE Applicant's Engineer shall certify that A pplicant’s Until

The construction of all storm drain facilities shall be under the | construction of all storm drain facifities (Engineer Final

supervision of a registered California Professional Engineer in | ate completed in accordance with Acceptan

Civil Engineering, Said Engineer shall certify that the work | approved plans, specifications, and ce of

has been completed in accordance with approved plans, approved change orders. Subdivisi

specifications, and approved change orders. (Public Works) on
Improve
ments

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